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                  EXHIBIT A
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      February 5, 20 15



      Ellen Nudelman Adler, Esq.
      Morrison & Foerster, LLP
      1253 1 High Bluff Drive, Suite 100
      San Diego, California 92 130

      Subject: Gree Dehumidifier Matter - Expe11 Opin ions
               Exponent Proj ect No. 1500606.000

      Dear Ms. Adler:

      You retained Exponent, Inc. (Exponent) to provide an expert opin ion regarding the actions of
      your client, Gree Electric Appliances (Gree), with regard to several aspects of their investigation
      into alleged failures of dehumidifiers manufactured by Gree and exported to the United States
      (U.S.), and their subsequent product recall negotiations and reca ll implementation. Specifically,
      you requested that we review the following:
           I . Gree' s decision to retain outside expert ass istance in replicating the alleged dehumidifier
              failures;
           2. Gree's decision to negotiate a U.S. Consumer Product Safety Commission (CPSC)-
              approved corrective action plan and implement a reca ll of the affected dehumidifiers;
           3. Gree's decision to retain Stericycle to assist in the admini stration of the CPSC-approved
              recall and associated corrective action plan; and
           4. Gree's decision to retain an outside expert to conduct an independent review of their
              safety/compliance management program.


      Executive Summa r·y
      Based on my knowledge of this matter from reviewing documents, discussions with Gree
      employees, and my experience, education, background and experti se in the area or product and
      process safety management as we ll as in consumer product safety regulatory interpretation,
      enforcement and compliance, it is my expert opinion that:
           I. Gree acted in a manner consistent with best industry sarety management practices when
              they retained Exponent to assist in a very complex and di fficult to replicate product
              fa ilure analysis that was technica lly beyond their previ ous experience;




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            2. Grcc acted in a manner consistent with best industry safety management practices in
               working cooperatively with the staff of the CPSC to develop and implement an
               acceptable corrective action plan;
            3. Grec acted in a manner consistent with best industry safety management practices when
               they hired Stericycle, a globa lly-recogn ized product recall service company with many
               years of experience implementi ng a wide variety of product recalls, to provide expert
               assistance in the implementation of the C PSC-approved corrective action plan and reca ll ;
               and
            4. Grec acted in a manner consistent with best industry safety management practices when
               they hired Exponent to conduct an independent review of their safety/compliance
               management programs to idcnti fy areas for possible improvement and prov ide
               recommendations on possible methods for improvement.
     The opinions presented he rein are made to a reasonable degree of professional certainty. My
     services for this work are bi lled at a rate of $320 per hour.


     1. Expert Qualifications
     My Curriculum Vitae is attached as Exhibit A. My opinions regarding the conduct ofGree arc
     based on my experience, education, background, and expertise in the area of product and
     process safety management as well as in consumer product safety regulatory interpretation,
     enforcement, and compliance. I have been directly involved in all aspects of product and
     process safety management, as both a manufacturer and as a regulator.
     I am currently emp loyed at Expone nt as a Manager in their Mechanica l Engineering Practice. 1
     have previously been employed as a General Engineer by the United States Department of
     Energy (DOE), as a Senior and Superv isory Comp liance Officer by the CPSC, and as a Senior
     Product Safety Manager by Whirlpoo l Corporation. I am regularly requested by the John Cook
     School of Bus iness at Sa int Louis University to present workshops and seminars on Developing
     Effective Product Sa fety/Compliance Management Programs as part of their Center for Supply
     Chain Management Studies advanced training courses. r have also been requested by the
     National Transportat ion Safety Board to testify before them on CPSC regu lations and
     enforcement as part of an investigation into a fire onboard a cargo plane, suspected to be caused
     by notebook computer batteries.
     I have a Bachelor ol' Electrical Engineering from the Georgia Institute of Technology and
     passed the Engineer in Training exam 1 in Georgia in 1990. I am curren tly a me mber of the
     institute of Electrical and Electron ic Engineers (IEEE), the American Society of Safety
     Eng ineers (ASSE), and the International Consumer Product Health and Safety Organization
     (ICPHSO).


     1
         l11e Engineer-in-Training exam, as it was called in 1990. is currently referred to as the Fundamentals of
           Engineering exam.



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      While working at the DOE, r was a headquarters program manager responsible for overseeing
      Electrical Safety, Training and Qualifications, Occupational Safety and Hea lth, and other
      operational programs necessary for the safe operation of a large manufacturing complex in
      Tennessee. One of my duties was to participate in the investigation of onsitc incidents and work
      with the operating contractor to develop effective and appropriate corrective actions. I was the
      headquarters approval authority for those corrective action plans.
     Whi le working at the CPSC, I personally conducted hundreds of alleged product safety defect
     investigations. I reviewed the product design and manufacturing processes of many of the
     largest consumer product companies in the United States. I negotiated product recalls and
     corrective action plans to minimize the risk to the public, and minimize the likelihood that the
     issue(s) leading to the recall would be repeated by that company. I was also closely involved in
     thousands of investigations conducted by the Compliance Officers who reported to me. In
     addition to the thousands of consumer product recalls r was directly and indirectly involved
     with, I also conducted thousands of additional product safety defect allegation investigations
     which did not result in a product reca ll.
     While working at Whirlpool, I was their global product safety manager for innovation products
     and also their global safety manager for corporate product safety training. I was responsible for
     developing appropriate training materials, setting global product safety training schedu les, and
     conducting training for Whirlpool employees around the world to ensure their understanding of
     Whirlpool 's corporate product safety program and processes. I conducted more than ten training
     sessions every year for Whirlpool employees throughout the U.S. and I trained four regional
     trainers to conduct training outside of the U.S. when I was not available to teach or assist. I was
     responsible fo r ensuring that all new product categories (referred to by Whirlpool as "innovation
     products'") investigated by Whirlpool were thoroughly reviewed for potential safety concerns. I
     participated in all aspects of product hazard identi'fication, hazard eva luation, and hazard
     mitigation, while ensuring that Whirlpool engineers adhered to the company's corporate product
     safety process.
     Although I have worked in the area of product and process safety for almost twenty years, I
     have on ly recently been in a position to be able to provide expert testimony in litigation matters.
     The first seventeen years of my professional career was with the United States federal
     government and was never involved in a matter associated with civi l litigation. Since leaving
     federal serv ice l have been retained as an expert on multiple occasions; however, thus fa r, all of
     these cases settled prior to trial, and only a single case2 has proceeded far enough to require my
     deposition as an expert witness. In that case I am retained to review the available information
     and provide an expert opinion regarding the company's compliance with applicable product
     safety standards and regulations, including the Consumer Product Safety Act.

     2
         Case No. 20 12 CA 292, Division K in the Circuit Court in and for Escambia County, Florida - Darian Bunch, a
           minor, by Shcrri Bunch and Lawrence Bunch as Natural Guardinns and next friends, and Dm·ian Bunch v. Kung
           Hsue She, Inc., KHS Bicycles, Inc., Free Agent BMX and Cycle Sports of Pensacola, Inc. d/b/a Cycle Sports
          13icycles



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     While I have prepared and prov ided numerous presentations on the CPSC, its regu lations and
     regulatory enforcement, and product safety management, I have not yet published any articles
     pertaining to these matters.


     2. Case Bacl<ground
     G ree became aware of safety allegations pertaining to dehum idifiers they manufactmed and
     exported to the United States. Specifically, Gree received reports invo lving allegations of fire
     damage due to the failure of their dehumid ifier. Gree undertook an investigation into the
     a llegations and was unable to replicate the a lleged fai lures in their laboratory. Gree
     subsequently retained Exponent to provide expert engineering assistance in the forensic
     evaluation of fie ld units and the development and conduct of creative laboratory simulations of
     the alleged failures.
     As Gree's investigation progressed they determined that there was a sufficient basis to warrant a
     consumer-level product recall of the affected dehumidifiers. G ree worked cooperatively with the
     CPSC staff to develop an acceptable corrective action p lan . Gree also retained Stericycle to
     provide expert recall assistance in implementing the C PSC-accepted corrective plan. Subsequent
     to the recall announcement, G ree again retained Exponent, this time to conduct an independent
     review of their product safety process and identify any areas for possible improvement.


     3. Opinions

     A. Gree's Internal T echnical ExpeLtise
     According to Gree's website,3 the company was founded in 199 1 and is "the world's largest
     specialized a ir conditioning enterprise which has integrated R&D, manufacturing, marketing
     and serv ice." The website additionally states that "Gree is committed lo providing global users
     with high-tech and high quality products." A company such as Gree that has expcttise in
     designing and manufacturing high qua lity products might automatica lly be considered by some
     to also have expertise in product fa ilure investigation, forensic engineering and forced fai lure
     testing4 of the prod ucts they design and manufacture. In fact, product failure investigation,
     forensic engineering and fo rced failure testing is a very different and complex process compared
     to designing and manufacturing a product. Becoming proficient, let a lone expert, in product
     fai lure investigation, forensic engineering and forced fai lure testing requires a significant
     amount of experience and practice with a wide range of products and product failure modes.




     3
          www.gree.com.cn
     ·I   Forced fai lure testing refers to the process of producing (forcing) a product to failure in a worst-case condition in
            order to observe the effects and potential safety ramifications of such a failure.



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     Unless a manufacturer is frequently investigating product failure allegations and performing an
     associated root cause analysis and forced failure testing, a manufacturer may have very limited
     experience and practice in these matters. There is frequently an inverse relationship between a
     company designing and manufacturing quality products and the quantity of product failure
     investigations, forensic engineering and forced fai lure testing the company perfonns. On the
     other hand, Exponent has been performing product failure investigations, forensic engineering
     and forced fai lure testing for decades, and has done so in a wide variety of industries and with a
     wide array of products.
     Gree attempted to use their expettise in designing and ll'lanufacturing dehumidifiers to
     investigate the alleged failures rep01ted to them. Because they did not have a lot of experience
     in this area, their attempts to replicate the reported fa ilures were unsuccessfu l.

     B. Gree's Retention of Exponent
     When Gree found itself unable to rep licate the reported failure, it is my expert opinion that they
     acted in a manner consistent with best industry safety management practices by seeking outside
     expertise to assist in replicating the reported failures and enabling Gree to complete its root
     cause analysis and develop appropriate corrective actions. Gree provided Exponent with design
     and manufacturing details for the dehumidifier models associated with the reported failures.
     They also provided Exponent with incident units as well as exemplar units for testing. Because
     of Exponent's significant experience and expertise in fore nsic engineering and forced failure
     testing, Exponent was able to develop a fai lure theory and devise a method of generating a
     product failure while bypassing the dehumidifier safety devices. After considerable effort,
     Exponent completed its investigation and reported their findings and recommendations to Gree.5
     Upon reviewing Exponent's report and discussing the results internally and with the associated
     Exponent staff, Gree determined that the information available to them regarding the reported
     dehumidifier failures warranted a product recall, and in my expert opinion Gree acted in a
     manner consistent with best industry safety management practices by determining that a
     vo luntary recall of the affected dehumidifiers was warranted.

     C. Gree's Recall Program Development and Implementation
     Once Gree determ ined that a reca ll of affected dehumidifiers was warran ted, it is my expert
     opinion that Gree proceeded in a manner consistent with best industry safety management
     practices by working cooperati vely with the CPSC staff to develop an accepta ble corrective
     action plan for a vo luntary recall. As Gree had no prior experience developing and
     implementing a product recall, it is my expert opin ion they acted in a responsible manner by
     relying upon the gu idance provided by CPSC and Exponent staff. It is my expert opi nion that
     Gree continued to act in a manner consistent with best industry safety management practices by
     retaining Stericyc le to assist with the implementation of the reca ll program.


     5
         Exponent report Gree Dehumidifier !J11'estigation, Exponent Project No. 1303054, dated July 19, 2013



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     D. Gree's Retention ofStericycle
     Stericycle, an expert recall serv ice provider, has been assisting businesses to "protect people and
     brands, promote health, and safeguard the environment6" since 1989. Stericycle began its
     operation concentrating on disposal services for medical and biohazardous waste. They operate
     medical waste services in eleven countries/ and as such, have significant expertise researching,
     interpreting and complying with international safety regulations. Stericycle created their
     ExpertSOLUTIONS division to expand their service offerings to include manufacturers of
     durable goods and consumer goods and to "provide custom ized solutions to maintain brand
     integrity either proactively for quality assurance or reactively in recall situation. 8"
     I have had the opportunity to work with Stericycle whi le I was working at the CPSC. They were
     retained by multiple firms to assist in the development and implemention of corrective action
     plans and product recalls r was negotiating on behalf of the CPSC. My experience with
     Stericycle has been positive and I've observed the extensive breadth and depth of their reca ll
     services. rt is my expert opinion that Gree acted in a manner consistent with best industry safety
     management practices by retaining Stericyclc to assist in the dehumidifier recall.

     E. Safety/Compliance Program Review
     Aflcr Gree obtained CPSC approva l for their corrective action plan, and Grce successfully
     implemented the reca ll with the expert assistance of Stericycle, Grec took the additional
     proactive step of retaining the services of an outside expert in product and process safety
     management. Grec retained my services through Exponent to perform an independent
     evaluation of their product and process safety management programs. I had the opportuni ty to
     review Gree's safety-related policies, procedures and processes, visit their manufacturing
     facility in Zhuhai, China and meet with personnel directly involved in their dehumidifier design,
     testing, manufacturing and failure investigation programs. At the conclusion of my review I
     prepared a report of my evaluation, which included my conclusions and recommendations. This
     report is dated January 9, 20 14, and titled Gree Humidifier Maller- Compliance Program
     Review. Gree acted proactively, and in my expert opinion, acted responsibly and in a manner
     consistent with best industry safety management practices in seeking out an independent review
     of their safety/compliance management program and in quickly seeking to identify and
     impl ement safety program improvements. This report incorporates by reference my January 9,
     2014 report, provided as Exh ibit B.
     Based on my experience, education, background and expertise in the area of product and
     process safety management as well as in consumer product safety regulatory interpretation,
     enforcement and compliance, it is my expert opinion that:


     6
         www.stericycle.corn
     1
         United States, United Kingdom, Ireland, Canada, Mexico, Brazil, Argentina, Chile, Romania, Spain, and Portugal
     8
         www.stericycle.com



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           I. Grce acted in a manner consistent with best industry safety management practices when
              they retained Exponent to assist in a very complex and dirricult to replicate product
              failure analysis that was technically beyond their previous experience;
           2. Gree acted in a maimer consistent with best industry safety management practices in
              working cooperatively with the staff of the CPSC to develop and implement an
              acceptable corrective action plan;
           3. Gree acted in a manner consistent with best industry safety management practices in
              retaining the services ofStericycle to assist i11 the implementation of the CPSC-approved
              dehumidifier recall program; and
           4. Gree acted in a manner consistent with best industry safety management practices in
              retaining the services of an outside expert in safety/compliance program management to
              conduct a review their systems and offer recommendations on areas for possible
              improvement.


     Limitations
     At the request of Morrison & Foerster, LLP, Exponent reviewed information pertaining to
     Gree's investigation into reported dehumidifier fa ilures and their subsequent recall actions. The
     limited scope of services performed during this eva luation may not adequately address the needs
     of other users of this report, and any reuse of this repott or its findings, conclusions, or
     recommendations is at the sole risk of the user. The opinions and comments formulated during
     this evaluation are based on observations and information available at lhe time of the evaluation.
     The ultimate responsibility for the design, manufacture, performance, compliance, and safety of
     Gree's products lies completely with Gree.

     The findings presented herein are made to a reasonable degree of professiona l certainty.
     Exponent has endeavored to be accurate and comp lete in the assignment. If new data become
     avai lable or there are perceived omissions or misstatements in this report, we ask that they be
     brought to our allention as soon as possible so that we have the opportunity to address them.

     If you have any questions or require additiona l information, please do not hesitate to contact
     Exponenl.

     Si ncerely,
      ~~~
     Richard L. Stern
     Manager
     Mechanica l Engineering Practice




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     Exhibit A


     Cirriculum Vitae of
     Richard L. Stern




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      Richard L. Stern
      Manager

      Professional Profile

      Mr. Richard Stern is a Manager in Exponent's Mechanical Engineering practice. Mr. Stern
      specializes in evaluating and developing management systems and processes intended to design,
      manufacture, import, distribute, and sell safe products. He has 23 years of experience enforcing
      or complying with local, state, federal and international laws and regu lations pet1aining to
      product and personnel safety, including 6 years with Whirlpool Corporation and I0 years with
      the U.S. Consumer Product Safety Commission.

      As a Senior Manager with Whirlpool Corporation' s Global Product Safety Department,
      Mr. Stern taught employees around the world about the fu·m's product hazard management
      systems and how to properly use them. Mr. Stern also provided daily product safety and
      compliance adv ice and guidance to Whirlpoo l staff involved in developing and manufacturing
      new or innovative products.

      As a Senior Compliance Officer and Associate Director for the U.S. Consumer Product Safety
      Comm ission ' s Recalls and Compliance Division, Mr. Stern conducted investigations into
      potential consumer product safety hazards, performed risk assessments, and negotiated
      corrective action plans in accordance with the Consumer Product Safety Act and other
      regulations under the agency's jurisd iction.

      Academic Credentials and Professional Honors

      B.E.E., Electrical Engineering, Georgia Institute ofTechnology, 1990

      Presentations

      Stern RL. Product safety program development workshop. Saint Louis University, John Cook
      School of Business, 20 13.

      Stern RL. Developing a product safety program . Saint Louis University, John Cook School of
      Business, 20 13

      Stern RL. Guest Instructor - "Building product safety into manufacturing,·• and "Deve loping a
      product sa fety program. Saint Louis University Center for Supply Chain Management Studies,
      20 l 1-presen t.

      Stern RL. Panelist - " Introduction Lo the Consumer Product Safety Commission, Consumer
      Product Safety Act, and the Consumer Product Safety Improvement J\cl of2008," American
      Bar Association Inaugural Consumer Products Subcom m i~ee Meeting, September 17, 2009.
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      Stern RL. Health & safety issues. U.S. Patent & Trademark Office- Global Jntellectual
      Property Academy, July I I, 2007.

      Stem RL. Enforcement of intellectual property rights. U.S. Patent & Trademark Office -
      Global Intcllectual Property Academy, June 15, 2007.

     Stem RL. CPSC program updates and statu s. Lighter Assoc iation Annual Meeting, May 16,
     2007.

      Stern RL. Recalls process - From case build ing to CAP. Internationa l Consumer Product
      Safety Organization Conference, April 2007.

      Stern RL. Battery investigations & recalls, codes & standards. 241h Internationa l Battery
      Seminar, March 19, 2007.

     Stern RL. CPSC - Who we are, what we do, how we do it. Consumer Electronics Association
     Technology and Standards Forum, February 27, 2007.

      Stern RL. U.S. Consumer Product Safety Comm ission Electronics and Appliance Safety
      Sympos ium, Shanghai, China, October 16,2006.

     Stern RL. Electronics and appliances sa fety symposium. Hong Kong Electronics Fair, October
     14,2006.

     Stern RL. CPSC-negotiated battery recalls. Lithium Battery TechnicaUSafety Group,
     September 6, 2006.

     Stern RL. CPSC compliance overview. U.S. Customs and CPSC Regulations with Joint
     Enforcement-Product Surveil lance and Porl<>. International Consumer Product Safety
     Organization Conference, May 9- 12, 2006.

     Stern RL. Battery sa fety and consumer product recalls. 23rd International Battery Seminar,
     March 13, 2006.

     Stern RL. Carbon monoxide hazards and investigations. New York City Office of Coroner and
     Medical Examiner, July 26, 2005.

     Pr·ior Experience

          •    Senior Manager, Whirlpool Corporation, Global Product Safety Department, 2007- 20 13
          •    Associate Director, U.S. Consumer Product Safety Commission, Reca lls and
               Compliance Division, 1998 2 007
          •    General Engineer, U.S. Department of Energy, Defense Programs, 1990 1998


     Richard L. Stem
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     Academic Appointments

             •   Visiting Instructor, Saint Louis University, John Cook School of Business, 20 It - present

     Professional Affiliations

             •   Institute of Electrica l and Electronics Engineers (member)




     Richurd L. Stem
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      Exhibit B


      Exponent Report of
      January 9, 2015




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       January 9, 20 14



       Ellen Nudelman Adler, Esq.
       Morrison & Foerster, LLP
       12531 High BluffDrive
       Suite I 00
       San Diego, California 92 130

       Subject: Gree Dehumidifier Maller - Compliance Program Review
                Exponent Project No. 1305806.000

        Dear Ms. Adler:

       At your request, on behalf of Gree Electric Appliances ("Gree"), Exponent Failure Analysis
       Associates ("Exponent") conducted a reliability and safety/compliance program review related
       to Gree dehumidifiers. This limited review was focused on Grce's programs, processes and
       procedures associated with dehumidifier design and manufacture, and was based on a review of
       available documentation as well as onsite meetings at Gree's faci lities in Zhuhai, China. Based
       on the review completed to date, which is detailed below, we have reached the fo llowing
       conclusions:
             I. Grce management is committed to fostering a culture that embraces product rel iability,
                compliance and safety.
             2. Gree has a comprehensive set of policies, procedures and worker aides addressing
                important aspects of the design and manufacturing process.
             3. Grce has policies, procedures and requirements fo r the co llection and in vestigation of
                post-sa le field complaints, but has to rely on their foreign agents to adhere to those
                requirements and to inform Gree of potential field issues.
             4. Gree's combined approach toward addressing reliability, compliance and safety has been
                effective in minimizing reliability and compliance issues, but might not max imize the
                potential to identify very low Iikelihood safety-related failures with potentially
                unacceptable severity leve ls.
             5. Grec's existing reliability, compliance and safety program provides a well-established
                and effective framework from which to build upon to incorporate changes to further
                minimize potential safety ri sks associated with their pi'Oducts.




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            6. Gree shou ld consider implementing internal audits (or utilize external auditors) of their
               production and customer service departments to identity potential nonconformance to
               their internal qua lity, compliance and safety program.

            7. Gree should consider rev ising the existing customer service process and procedures to
               more aggressively pursue the return of field units related to potential safety-related
               allegations.

      Background
      According to Gree's website, Gree Electric Appliances, Inc. of Zhuhai was founded in 199 1,
      and represents the largest air conditioner enterprise that integrates R&D, manufacturing,
      marketing and services globally.

      Gree has nine producti on facilities located in Zhuhai, Chongqing, Hefei , Zhengzhou, Wuhan,
      Shijiazhuang, Brazil , Pakistan and Vietnam with an annual production capacity of 60 million
      residential air conditioners (RAC) and 5.5 million commercial air conditioners (CAC). With
      more than 200 mi llion users globally, Gree is reportedly the largest RAC manufacturer in the
      world in terms of sa les volume since 2005.

      In add ition to Gree's experience in the residentia l air cond itioner market, they also design and
      manufacture a wide array of other consumer products, including:

                          dehumidifiers
                          air purifiers
                          electric fans
                          electric heaters
                          water dispensers
                          induction cookers
                          rice cookers
                          kettles

      Prior to 201 3, Gree reportedly had not identified any prod uct safety issues associated with their
      product line that would have presented a substantial product hazard necess itating a product
      recall. In 20 13, however, Gree conducted a voluntary product recall of certain dehumidifiers in
      both the United States and Canada.

      As part of Gree's dehumidifier investigation, they sought to identify any technical and
      programmatic changes necessary to properly address the reca lled products and to minimize the
      li kelihood of any similar sa fety-related issues occurring in the future.

      Exponent was retained to assist Gree in their investigation to provide technical suppmt in
      identifying the most likely root cause(s) of the reported dehum idifier fa ilures and to evaluate the


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      role(s) of engineering changes over time in the event of a product fai lure. They also retained
      Exponent to provide support in identifying and addressing any safety program weaknesses
      which could have contributed to the dehumidifier recall and to assist Gree in their process
      improvement effotts.

      This report solely addresses the review ofGree's safety program related to dehumidifiers and
      docs not address any specific technical issues associated with the recalled dehumidifiers.

      Gree's Dehumidifier Product Safety/Compliance Program
      The review ofGree' s current product safety/compliance program was conducted through a
      combination of a document review, a facility site visit, and discussions with both Gree
      management and stafT, and addresses the design process, production process, and post-
      production process. The documents reviewed included a broad range of policies, procedures,
      chcekJ ists, assembly aides and standards. The Iist of avai lable documents that were reviewed
      includes:
            I.   QC 1200.03-02 Product Risk Management (English)
            2.   QG0302.03-04 Product Development Management (English)
            3.   QC0600.05-02 Product Sampling Test Management (English)
            4.   QC0203.0 1-05 Product Certification Control Management Measures (English)
            5.   Gree Product Safety Issues Handling Procedure (English)
            6.   Design Checklist (Engl ish)
            7.   CKB-SIIZ-20 1203-0 I Overseas Sales Agent Monitoring and Management
                 Regulations (English)
            8.   GX110560_01 _GDN IOOAM-A3EI3AIA Process Audit Document Pack in Sample
                 Evaluation Phase (Chinese)
            9.   GX II 0560 US Dehumidifier GDN IOOAM-A3EBA I A Testing Summary (Chinese)
            10. GX II 0560-US New 100 pint Dehumidil1er GDN I OOAM -A3EBA IA-Check List for
                 High Risk Problems in Controller (Chinese)
            I I. GX 11 05600. 1_GDN 1OOAM-A3EB I A_Approval Form for Sample Evaluation of
                 Display Board 1)10803 and PCB GRJ 108-B 6-2 (Chinese)
            12. Product Testing Check list and Summary for Audited Problems-
                 GX I I0560.0 I_ GDN I OOA M-A3 EBA IA_ Evaluation (Non-inverter) (Chinese)
            13. GX II 05600 1_GDNIOOAM-A3EBAIA Newdevelopment IOOpdchumidifierrcview
                 application form for North America export (Ch inese)
            14. GX II 0560 Export for Not1h America New I OOpint dehumidifier display board
                 D I 0803 and PC I) board GRJ I 08-B etc. electric contro ller inspection form- I (Ch inese)




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            15.     OX II 0560 ODN IOOAM-A3EBA IA dehumidifier export for North America test
                    information collection (Chinese)
            16.     OX I I0560.0 I certificati on application form (Chinese)
            17.     GX II 0560.01 GDN 1OOAM-A3EBA lA dehumidifier export for North America
                    production document(Lambda QXA-A08 1xL 130A) (Ch inese)
            18.     OX II 0560.0 I ODNl OOAM-A3EBA I A dehumidifier export for North America
                    specification (Chinese)
            19.     GX II 0560.0 I GDN IOOAM-A3EBA lA dehumidifier export for No1t h America
                    standardization inspection report (sample) (Chinese)
            20.     GX I 10560.0J _display board 010803 and PCB board GRJ108-B of 100 pint
                    dehumidifier for North America electric controller inspection form-2 (Chinese)
            21.     OX I I0560_0DN IOOAM-A3EBAI A electric controller matching declaration form
                    (Chinese)
            22.     GX 11 0560.0 I_ ODN 1OOAM-A3 EBA IA intellectual property rights inspection form
                    (Chinese)
           23.      OX II 0560.0 I_GDN IOOAM-A3EBA IA plan review patent inspection report
                    (Chinese)
           24.      GX II 0560.0 I GDN I OOAM-A3EBA IA Certification inspection report (Chinese)
           25.      "OX 110560.0 1-G DNl OOAM-A3EBA l A New product trail produce information
                    feedback" (sic) (Chinese)
           26.      GX I I 0560.0 1-GDN 1OOAM-A3EBA IA Printing materials inspection form (Chinese)
           27.      GX 110560_01 _GDN1 OO/\M-A3EBA lA sample crafts reviewing inspection
                    information collection form (Chinese)
           28.      GX I I0560_20 12 IOOpint dehumid itier export for North America 20 12 development
                    plan (Chinese)
           29.      Need to make improvement questions record (Chinese)
           30.      Procedure record (Chinese)
           31.      GX 11 0560_01 _GDN I OOAM-A3EBA IA_New development I00 pint dehumidifier
                    product design plan confirmation letter (Chinese)
            32.     GXII0560_01 _GDN IOOAM-A3EB/\IA_New development 100 pint dehumidifier
                    raw material cost inspection form (Chinese)
           33.      I 00 pint dehumidifier key questions form during the process of development (Chinese)
           34.      20 12 plan-new 100 pint dehumidifier export lor North America_SMO 0314447
                    (Chinese)
           35.      GX I I0560.0 I GDN JOOAM-A3EBA I A electri c controller matching declaration form
                    (Chinese)
           36.      GX II 0560.0 I_GDN IOOAM-A3EB/\ IA electrical reviewing report (Chinese)


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           37.     GXII0560.01 _GDN100AM-A3EBAIA packaging inspection form (Chinese)
           38.     GX I I0560.0 I GDN IOOAM-A3EBA lA technical service manual information
                   integrality (sic) inspection form (Chinese)
           39.     GX II 0560.0 1_GDN 100AM-A3EBA I A_ l OOP dehumidifier new design standard man-
                   hours inspection (Chinese)
           40.     GX II 0560.0 I_ GDN I OOAM-A3EBA IA printing material inspection form (Chinese)
           4 1.    GX I I0560.0 I_ GDN J OOAM-A3EBA 1A New development I00 Pint dehumidifier
                   design summary report (Chinese)
           42.     GX II 0560.0 I_ GDN 1OOAM-A3 EBA IA sample evaluating craft inspection data
                   su mmary (Chinese)
           43.     GX II 0560.0 I GDN IOOAM-A3EBA IA_Ne development I00 pint dehumidifier new
                   design and improved design, new technology application inspection form (Chinese)
           44.     GX II 0560.01 _GDN IOOAM-A3EB/\ l A_New development I00 pint dehumidifier
                   contents of inspection documents (Chinese)
           45.     GXII0560.01 _GDNIOOAM-A3EBAIA_Newdeve1opment 100 pint dehumidifier
                   customized requ irements inspection form (Ch inese)
           46.     GX I I0560.0 I_ GDN IOOAM-A3EBA IA_New development I 00 pint dehumidifier key
                   components matching space form (20 drawing) (Chinese)
           47.     GX 110560.0 I_GDN IOOAM-A3EBA IA_New development 100 pint dehumidifier
                   muti-mold (sic) and cav ity parts inspection summary (Chinese)
           48.     22 GL03_00 1-02-Abnorntal qual ity problem's handling procedure and requirements
                   feedback by afler sales service (Chinese - flowchat1s)

      The documents reviewed demonstrate a comprehensive and detailed program to design and
      manufacture dehumidifiers with a heavy focus on reliability and regulatory/standards
      compliance. In its current form, product safety evaluations are integrated into this program to
      create a single process used for the reliability, compliance and safety system.

      Gree's Design Process
      Compliance, reliability and safety are most efTcclively controlled during the design process. If a
      pmduct is designed with a focus toward achieving compliance with applicable regulations and
      standards and reasonably maximizing reliability and safety, the production and post-production
      processes can then be used for verification and feedback of the design assumptions. A general
      outl ine of Gree's overall design process is summarized as fo llows:

            I.     Appl icable laws, industry standards, internal standards and customer requirements are
                   identi lied and provided to the project team by the responsible departments.



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            2.       The project team reviews the design plan with the Chief Engineer and any changes are
                     incorporated.
            3.      The structure of the product is designed and the necessary components are identified.
            4.       Jf necessary, new tooling is designed and built.
            5.       Prototype is manufactured and assembled.
            6.       Prototype is tested to all previously identified requirements (regulatory, reliability,
                     safety, customer-supplied, and any other applicable product requirements).
            7.       Any issue associated with product compliance or performance is evaluated and
                     corrections are incorporated.
            8.      A revised prototype is subsequently manufactured and assembled.
            9.       Any non-compliant tests are repeated and any additional testing is performed.
            10.      Any issue associated with product non-compliance or performance is evaluated and
                     corrections are incorporated to address these non-compliant areas.
            11.     The project team reviews the prototype product and any design revisions with the
                    Chief Engineer.
            12.     If approved by the Chief Engineer, an application for third-party certification is
                    prepared and submitted. If the product and design are not approved by the Chief
                    Engineer, necessary changes are incorporated and an application for third-party
                    certification is prepared and submitted.
            13.     Pilot production commences and assembled products are tested for compliance with
                    previously-identified requirements.
            14. Any issue with product compliance or performance is evaluated and corrections are
                incorporated, as necessary.
            15.     Pi lot production resumes with corrections incorporated and testing is repeated to verify
                    that the corrections incorporated resolved previously non-compliant test results.
            16.     If any additional issues are identified at this time, modifications are incorporated and
                    the testing process is repeated until the pilot production process results in compliant
                    products. Once pilot production results in compliant products, a final eva luation is
                    conducted by the Chief Engineer.
            17.     Any necessary changes are incorporated; if no changes are necessary, the product is
                    approved for high volume production.

      For any system to function as intended, the responsible people must be aware that a system is in
      place, understand the system, and use the system correctly. As indicated by the depth and
      breadth of the system documents previously identified, Gree has created and documented a
      formalized system to design and manufacture products which are expected to comply with


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      applicable regulations, standards and expectations whi le minimizing the potential for quality,
      reliability or safety issues. Gree has developed new employee training and an Employee
      Manual that creates awareness of this system. Through its Employee Manual and training, Gree
      provides clear notifica tion to all employees that reliability and safety is critica lly impottant to
      the company and that all employees are required to repott any such issues they may encounter.
      Any attempt by a Grec employee to intentionally avoid these issues can result in employee
      discipline, up to and including termination of employment. The message is reinforced to the
      employees throughout the workplace via the use of posters, signage and other messaging
      systems championing quali ty and safety. While it is important to have clearl y defined employee
      requirements regarding sa fety-related issues, those policies are ineffecti ve if they are not
      enfo rced. Although Exponent did not have the opportunity to interview random employees in
      the plant, we were informed that employees have been disciplined for failure to fully comply
      with Gree's policy on safety . Thi s prov ides a clear and strong message that the staffs safety
      responsibilities are important and are being enforced by Gree's management team.

      Gree's product des ign process begins with the identification of the applicable laws, regulations,
      codes, industry standards, internal standards and customer-specific requirements. To assist in
      this process, Gree has a Corporate Management department which is responsible for keeping
      track of global regul ations and industry standards and updating Gree's internal standards
      accord ingly to ensure that compl iance with Gree' s standards will result in compliance with the
      applicable regulations and industry standards. This same group is responsibl e for incorporating
      any ·' lessons learned" changes to internal standards identified by Gree's Quality or Safety
      departments.

      Once Gree's technica l department obtains the full list of requirements fo r a specific product,
      they begin the design process. Per Grec's policy, as part of the design phase of product
      deve lopment, the technical department "should list main components and their des ign plans,
      including the fun ction, performance, reliability, serviceability, safety, indemnification and so on
      and should give full consideration to their impact on the product safety, compliance and quality;
      and should do hazard evaluation on anticipated use and find all potential failure modes and
      analyze the outcomes." 1 Furthermore, Gree's process department "is responsible to evaluate the
      manufacturing, packaging and storage of the products and list impacts from all relevant
      manufacturing process, transportation, storage process and environment; to identify key impact
      on consumer sa fety, such as pollution fi·om fo reign matters, chemica l and biological pollution
      and so on; to find all potential failure modes and to analyze the possible outcomes." 2


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          Gree's supplied translatio n of QG 1200 03-02 GREE Electric Appliances Inc., ofZIIIII/{/i, Management Criterion.
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                 Running and Assessment .\ lanagement Criterion. Product Risk , tssessment Jl lunagement Rules. Page 8.
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          Gree 's supplied translation of QG 1200 03-02 GREE Electric Appliances Inc., of'Lhulwi, Management Criterion
          System l?wming am/ , lssessment ,\/anagement Criterion. Product Risk Assessment Management Rules. Page 8.
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      Once the product design has been completed and approved by the Chief Engineer, a prototype is
      produced and evaluated for comp liance with respect to the previously identified requirements.
      Gree has the laboratory capabi lities to conduct all of the necessary testing in-house. They
      conduct a complete analysis of incoming materials to determine compliance with global
      regulations such as the Federal Hazardous Substances Act (PHSA) and the Restriction of the
      Use of Cettain Hazardous Substances in Electrical and Electronic Equipment (RoHS). Gree's
      laboratories conduct testing to determine compl iance with the applicable industry standards and
      any additional customer-specific requirements. All ofGrce's products exported to the United
      States arc Underwriter's Laboratories (UL) Listed and their laboratory is UL accredited.

      Based on their prior experience and knowledge gained through their interaction with other
      manufacturers, customers and technical organizations, Gree has developed additional internal
      standards which, where determined to be appropriate, go beyond the minimum requirements of
      the industry standards. Including these additional internal requ irements is likely to increase the
      cost and time to market of their products, but where Gree has determined that meeting the
      industry standard alone does not meet their corporate expectations for reliabi lity, performance
      and safety of their products, they accept these additional cost and time burdens. Some of the
      areas where Gree has developed more stringent internal standards related to their dehumidifier
      and other products include:

            I.   Fan blade life testing
            2.   Salt spray testing
            3.   Burn testing
            4.   Testing protocol for unit operation representing a range of low refrigerant conditions
                 (developed recently in response to the recall investigation)

      Another critical aspect of Gree's design process is their risk assessment process. As
      summarized in Grcc's program documents, after all potential failures have been identified,
      •'these failures need to be evaluated according "Affiliate 4: Severity Scoring Standard",
      "Affiliate 5: Occurrence Scoring Standard", "Affiliate 6: Difficulty of being tested Scoring
      Standard"; and need to be recorded into "Affiliated Chart I: Failure Mode and Impact Ana lysis
      Chart" and relevant failure mode, outcome, severity, occurrence, difficulty of being tested,
      current control methods shou ld be rccorded.'' 3

      Gree performs a Fai lure Mode and Effects Analysis (FMEA) for each product. The FMEA is
      used to identify the potential failure modes for the producl being designed and manufactured. A
      critical aspect of the FMEA is the evaluation of the risk associated with each potential failure
      mode. Gree uses the Risk Priority Number (RPN) methodology and their past experience and

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                 Running and Assessment Management Criterion. Product Risk . lssessment .1/anagemenl Rules. Page 9.
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      engineering judgment to rate each potential failure according to three rating sca les: Severity,
      Likelihood, and Testability.

      Gree's Severity Scoring Standard has a range of fa ilure severities, and is scored as fo llows:

                                          IMPACT                 SCORE
                                            None                      I
                                         Very Minor                  2
                                            Minor                    3
                                          Very Low                   4
                                            Low                      5
                                          Moderate                   6
                                            lligh                    7
                                         Very High                   8
                                       Hazardous-with                9
                                           warning
                                      Hazardous-without              10
                                           warning


      Gree's Occurrence Scoring Standard has a similar range:

                          OCCURRENCE                 SCORE                  FAILURE%
                         Remote                           l                  ~0 . 67 PPM
                         Very Low                         2                  6.67 PPM
                         Low                              3                   67 PPM
                         Moderate                         4                  500 PPM
                                                          5                    0.0025
                                                          6                    0.0 125
                         High                             7                     0.05
                                                          8                     0.1 25
                         Very Hi gh                       9                     0.33
                                                          10                   ~ 5 0%


     Gree's Testabil ity Scoring Standard attempts to assign a score based on the like lihood that
     laboratory testing being used to assess a risk will be able to create/recreate a particular fa ilu re.
     The scoring is ass igned as fo llows:

                                                                          RATE OF BEING
                         TEST ABILITY             SCORE
                                                                             TESTED
                         Almost Ce11ain               I                     90 100%



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                           Very High                    2                         0.8
                           High                         3                         0.7
                           Moderately High              4                         0.6
                           Moderate                     5                         0.5
                           Low                          6                         0.4
                           Very Low                     7                         0.3
                           Remote                       8                         0.2
                           Very Remote                  9                         0.1
                           Almost Never                10                          0

      Once all three scores have been determined for each potential failure mode, those scores arc
      then used to calculate the resultant RPN, where:

                                      RPN =Severity x Likelihood x Testabili ty

      Once the RPN has been calcu lated, a determination is then rnade regarding the acceptability of
      the individual failures. This step of determining the risk acceptabi lity is a fundamental element
      of an effective risk management program.

      Because it is not possible to eliminate all risk from any product, each company involved in
      designing, manufacturing, importing and distributing a product has to determine their individual
      company's risk tolerance. In determining a company's ri sk tolerance, the senior leaders of the
      company must consider the difficu lt balance between the risk of a product or particular failure
      mode and the cost necessary to make an incremental reduction in that risk. At some point, the
      incremental cost of reducing a pat1icular risk fu rther becomes unreasonable or impractical.
      Each company has to determine their own definition of"reasonable" and in so doing, they
      determine their risk tolerance.

      Gree's senior management has considered their corporate risk tolerance and documented that in
      QG 1200.03-02. Spccifically, they have determined that a combination of either of the following
      is unacceptable:

                           Severity S ~ 7, and Risk Priority Number RPN > 60; or,
                           Severity S < 7, and Risk Priority Number RPN ~ I00

      An unacceptable risk results in the responsible departments taking proactive steps (i.e. , change
      the product design, change component(s), change the manufacturing process) to reduce the risk.
      Once those proactive steps have been implemented, the product is re-eva luated. If the re-
      eva luation finds that the Severity and Risk Priority Number have decreased to an acceptable
      level, the project can proceed. If the re-eva luation determines that the Severity and Ri sk Priority
      Number are still unacceptable, the process repeals until the risk is reduced to level which is
      acceptable to Gree.


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      Once the product design process has completed, Gree has a product that, if produced in
      accordance with its approved design, will comply with all applicable regul ation, industry
      standards, customer-specific requirements, Grce internal standards, and have reasonably
      maximized reliability and safety. The next step is to manufacture the product.

      Gree's Production Process
      Gree's corporate headquarters in Zhuhai, China, has more than 20,000 employees and over I
      million ft.2 of production facilities, laboratories and office space. Gree follows the Six Sigma
      approach in its manufacturing. Six Sigma is a di sciplined, data-driven approach and
      methodology for eliminating defects. To achieve Six Sigma, a process must not produce more
      than 3.4 defects per million opportunities. A Six Sigma defect is defined as anything outside of
      both internal and customer specifications. A Six Sigma opportuni ty is then the total quantity of
      chances for a defect.

      At the same time that Gree is working on obtain ing internal approval from the Chief Engineer
      for the product design, they are also working on the development of production-specific
      documents and equipment. Where necessary, they design and construct special tooling, develop
      assembly aids for production workers, determine the order of production/assembly steps and
      what, if any, sections ofthe product will be produced as sub-assemblies which are then
      assembled into the product. Based on all of the information available from the product design
      and the production-specific process requirements, Grce deve lops a quali ty plan that is specific to
      a given product design and manufacturing process.

      The first critica l step in producing the product as designed is identifying suppl iers for raw
      materials and components. Gree specil"ica lly tailors the material receipt inspection program to
      the individua l supplier. Because of Gree's large production volume they purchase large
      quantities of materials and components and have developed a list of trusted suppliers. Even
      when obtaining materials and parts from a trusted supplier, Gree conducts material receipt
      inspection and testing to verify that the supplier has sent exactly what was ordered. This
      inspection and testing includes chemica l analysis of materials to ensure compliance with global
      chemical regulations as well as component performance, reliabil ity and safety testing. At a
      min imum, all batches received are randomly sampled. Shipments from supp liers with whom
      Gree does not have extensive experience rece ive a higher frequency of inspection.

      Prior to beginning production, Gree determines what worker aids and instructions are important
      to ensure the correct production of the product, as designed. They eva luate the product design
      and determine the appropriate assembl y order and prepare assentbly instructions and worker
      aids specific to the individual production line stations. The quali ty department reviews the
      production plans and determines the most appropriate places throughout the process to conduct
      required quality checks and tests. The same process is fo llowed for the production of any


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     product sub-assemblies. Full production does not begin until Gree is satisfied that they have the
     materials specified by the design and the production workers have been instructed on the proper
     manufacturing and assembly aspects of the product.

     Staff from the quality depat1ment are located in the production facility and readily available to
     respond to questions or concerns from the production lines. There is also constant oversight
     from supervisors along the product lines to verify that procedures are followed and that the
     product is properl y assembled.

     Random quality contro l checks arc performed every two hours on products at the end of the
     production line. Certain critical aspects of the product, such as weld seam integrity of any
     component intended to be pressurized, arc tested and verified multiple times throughout the
     production process. Each sub-assembly production process has its own quality control checks
     specific to the sub-assembly. An additional random quality control check is performed on the
     finished product in Gree's warehouse.

     Gree recently implemented improvements to their process as a result of their investigation and
     recall of certain dehum idifiers in the U.S. and Canada. During that investigation, it was
     determined that plastic parts intended for use in dehumidifiers outside ofNorth America had
     been inadvertently used for the construction of dehumidifiers distributed in North America.
     Although the North America and non-North America components appear identical and have
     identical physical dimensions, they have different flammability ratings based on the
     requirements of the respective markets. 4

     ln response to this discovery, Gree implemented the following changes 5 to the production (and
     design) process to minimize the potential for an inadvertent use of incorrect parts in the future:

                  I. Change the color and/or physical characteristics of identical parts with
                     different ceriification requirements to differentiate these parts.

                 2. Reinforce to the injection molding workshop the need to divide and isolate
                 different materials. Check if the mold recycling logo is consistent with the
                 production status before mass production.

                 3. Implement a dua l veri'fication system with the assembly staff and inspector
                 during the initial assembly inspection. The assembly staff must compare the
                 actual material code on the part against the code specified in Bill of Materials

     1
         As explained on page I ofGree's report to the U.S. Consumer Product Safety Commission titled £rplcmation of
           lnadt·ertent Use of Non-compliant A BS .\ laterials
     s Paraphrased from pages 2-5 ofGree's rep011 to the U.S. Consumer Product Safety Commission titled Explanation
         of lnadrertent Use of Non-compliant Al.JS .1/aterials



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                  (BOM) and document the confirmati on. This new requirement has been written
                  into the management document "KSGB-0203-03- Management of Product Initial
                  Inspection".

                 4. Reinforce control of material on Parts Delivery Ca11s. Each Delivery Cart
                 must have clear signage identi fy ing the parts on the cart and the location for
                 del ivery. Once all parts have been removed from the Delivery Cart, the signage is
                 to be removed to avoid confusion. This requirement has been wrillen into the
                 management document "KSGB-0407-02- Management of Dispatching Device".

                 5. Reinforce control of materia l in Parts Transfer Cat1s. When moving items
                 from one production stage to the next, a green sti cker must be placed on the
                 materials before putting them on the Transfer Cart to distinguish the materials
                 being transferred from the materials already present at the next stage and the
                 Transfer Cart must include complete documentation of the contents of the
                 Transfer Cart. Workers receiving the Transfer Cart arc authorized to reject the
                 Cart if it does not contain the proper documents and the materials are not
                 properly marked. This requirement has been written into the management
                 document "KSGB-0203 -03- Management of Product Initial Inspection".

                 6. Reinforce management of residual materials during production. Residua l
                 materials are to be clearly marked, separated and placed in segregated areas.
                 When residual parts are later transferred back to the production line, the worker
                 is to use the Product Initial Inspection process to verify that the part delivered
                 matches the part specified on the BOM. This requirement has been written into
                 the management document "KSGB-0212-03- Managcment of Quality
                 Supervision".

     Once products have been manufactured and shipped, the final piece of a comprehensive
     quality/safety program is to identify any product fai lures in the field, eva luate these failed
     products and feed that information back into the design and production processes for any
     necessary changes to the existing product. In addition, this information can be considered in the
     des ign process of future similar products, including the introduction of new interna l standards.


     Gree's Post-Production Process
     The post-production process (i.e., timeframe beginning alter the customer pmchases the
     product) serves not only as a mechanism to identity potential problems with existing products,
     but also serves as a check of the design and production processes. Potentia l safety-related
     problems discovered post-production require comprehensive evaluation in order to determine
     whether the scenario presents a risk of injury and, if so, whether or not that risk is high enough


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      (i.e., unreasonable) to require reporting to the responsible government(s), potentially requiring a
      product recall. Whether the potential problem presents a risk of injury or only reflects a
      customer satisfaction issue, the issue requires investigation into the direct and contributing
      cause(s) so that changes can be made to the product design and/or manufacturing to prevent
      future products from being produced with the same issue. There also needs to be a
      determination made whether the issue necessitates a broader review and possible revision to
      higher level policies, programs and procedures which apply to other products designed and
      manufactured by the company.

      For products distributed within China, consumers have the ability to contact Gree directly with
      product complaints and allegations of quality or safety concerns. Those contacts go to Gree's
      Customer Service department which then is responsible for forwarding quality-related and
      potential safety-related complaints to the Quality Department. The Qua lity Department reviews
      the complaints and either evaluates the allegations in their department or forwards the complaint
      to the responsible department (i.e., Safety, Engineering, Manufacturing). It is possible that the
      field unit cou ld be returned to Gree for physical examination and testing. If the field unit is not
      available for examination and Grce believes testing is necessary to complete their investigation,
      they will check their inventories for a unit of the same design as the fie ld unit. If a sample unit
      is not avai lable and Gree believes testing is necessary to complete their investigation, they will
      build a unit to the specifications applicable to the field unit. Once an investigation into the
      allegation has been completed and direct and contributory causes have been identified, Gree will
      evaluate the potential risk presented by the products manufactured and distributed and
      determine if the potential risk meets the requirements for government reportabi lity for each
      country where the product was distributed. At the same time, Gree will identify the necessary
      design, manufacturing and process changes to eliminate, if reasonably possible, or minimize the
      potential for the problem to occur in the future. Por products distributed outside of China, Gree
      only has limited, if any, access to field information and units.

      Dehumidifiers manufactured by Gree are sold in the U.S. under the fo llowing brand names:
         I. Danby
         2. De'Longhi
         3. Fedders
         4. Pellini
         5. Frigidaire
         6. General Electric
         7. Gree
         8. Kenmore
         9. Norpole
         I 0. Premiere
         II . Seabreeze
         12. SoleusAir
         13. SuperCiima



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      The dehumidifiers are imported and distributed in the U.S. by multiple companies. Gree USA
      and M.JC America Ltd. are the U.S. importers for Soleus Air and Kenmore brand dehumidifiers.
      As described on !he Gree USA website (www.grccusa.com):

                   GrceUSA is a joint venture established by MJC America lloldings and Hong Kong Gree
                   Electric Appliances Sales, Ltd. in 20 I0 to be the exclusive US distributor of certain
                   SoleusAir and other products manufactured by Gree Electric Appliances ofZhuhai
                   China.

                   GreeUSA is not a subsidiary or affiliate ofGree Electric Appliances Inc. ofZhuhai
                   China. Headquartered just outside of Los Angeles, California; GreeUSA strives to
                   provide reliable products that are easy to use and look great in your home.


      Because sa les and distribution outside of China is not conducted by Grcc, Gree attempts to
      standardize the responsibilities of their foreign agents through the use of a document titled
      "Guidelines of oversea (sic) after-sales service for Grcc agents." The genera l f01mat and
      content of this document is as follows:

            I.       Purpose
            2.       Applicable range
            3.       Responsibility
            4.       Basic requirements for Grec agents
            5.       Basic principles for after-sales service
            6.       Basic principles for after-sales service personnel
            7.       After-sales service standards
            8.       Spare parts management
            9.       Basic principle for feedback of after-sales quality information
            I0.      Warning a nd related principles of installation and maintenance
            I I.     Other clauses by mutual agreement
            12.      Supplement (sic) clauses
            13.      Subsid iary clauses

      Focusing on Section 9 of !he guidelines as the section most directly related to Gree's quality and
      safety management program, the specific requirements stale:

                   The contents below should be fed backed to Gree in time as required and fill in the "sheet
                   of after-sales quality information":
                   9. I When the product is tested by third part institute, the result may go against the product;
                   9.2 ll1e air conditioners (three or more tlum 3 sets) of the same model appear the same quality
                   problem in the same region;
                   9.3 Injury, fire hazard or other incidents due to electricity leakage of the product, but Ute cause and
                   responsibility arc being investigated;
                   9.4 The product occurs big quality problems which is universal and can't be solved.



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                 9.51fthespare parts are used for solving epidemic quality pmblem, the agent must infonn us before
                 placing the spare part order~
                 9.6 Requirement of fill ing "sheet of after-sales quality information"
                 9.6.1 When filling 01e shee~ all tl1c items must be filled, especially the model, mmmfacture date,
                 b1u'COde, name and contact way of installation and maintenance;
                 9.6.2 For 01e problems ofpackage, transportation, loading. storing and leakage, tlw agent must
                 pmvide related picture oftl1e problems e.xcept filling 01e sheet
                 9.6.3 For 01e system problem of the uni~ the maintenance personnel must write down the malfunction
                 phenomenon in details and provide reh-1ted specification such as running time, pressure and cun-en~
                 etc.

      If the information requ ired by Section 9 of the guidelines is collected by Grce's agents and is
      provided to Gree in a timely manner, Gree wi ll have the information necessary to be able to
      identify potential compliance, quality and safety issues, and to begin the appropriate
      investigation and possible cotTection. Gree must rely upon their agents fulfilling their
      obligations under the agreement. If their agents do not meet their obligations in reporting field
      issues back to Gree, Gree might not become aware of a potential issue for an extended period of
      time, if at all, introducing a level of corporate risk.

      When in vestigating potential product safety allegations, the most useful and informati ve step is
      to perform a thorough exam ination of field, incident units in question. A basic description of the
      incident provided by a customer may not be accurate or complete. For exampl e, individuals can
      fail to note critical distinctions such as " fire" versus "smoke", "electric shock" versus "static
      electricity" or "burned" versus "melted". A detailed examination of thc incident un it by an
      expert(s) experienced in performing product investigations can resolve many of these issues and
      aid in the determination of the operative root cause and fa ilure mechanism. This evaluation can
      also help determine if the failure is the result of an isolated or limited production issue or is
      likely systemic in nature

      Because of the impot1ance of being able to examine field, incident units which potentia lly
      present a safety risk, a firm should have an aggressive process in place to both request and
      incentivizc the return of field , incident units from consumers. Customer Service Operators
      should be instructed how to effectively identify potential safety-related reports, and either
      directly, or through a supervisor or specially trained "safety team", take reasonable steps to
      obtain these field, incident units. This cou ld range from pay ing for the cost of shipping the
      product back to the fi rm to purchas ing the prod uct from the consumer. In certain circumstances,
      where the specific conditions warrant, paying the consumer more than the price of the product
      might be reasonable if the potential safety risk is suffic iently high.

      Summary/Recommendations
      The review ofGree·s qua li ty, compliance and safety program described in this report is a broad
      overview of policies, programs and procedures in place at the time of the review and is
      primarily a review ofGree's intended program. Although an in-depth audit of Gree's actual


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      practices was not performed to determine the extent of their day-to-day compl iance with their
      documented program, enough information was avai lable and observed to have indicated if any
      clear areas of noncompliance with their program existed. No obv ious areas of noncompliance
      were identified during this review. A detailed, independent audit of Gree's day-to-day
      adherence to their written procedures and specifications would be beneficial in identifying any
      less obvious internal noncompliance or manufacturing quality control issues. Such an audit
      would include a detailed review of daily quality and performance checks along with all
      associated actions taken and the actions of operators in each manufacturing process step. A
      detailed review of customer/ consumer complaints should also be considered, with an audit
      perfom1ed on the actions taken in response to allegations of potential safety concerns.

      The existing foundation ofGree's combined quality, compliance and safety program is strong
      enough that the potential oversight of unusual, low likelihood and high severity failure modes
      cou ld be minimized with some targeted program revisions. The purpose of this repot1 is to
      provide Gree's senior management with enough information to discuss with their quality,
      compl iance and safely depat1ments and determine what, if any, specific program changes are
      warranted.

     Gree developed and implemented a comprehensive quality control, compl iance and safety
     program. The depth, breadth and enforcement of thi s program are indicative ofGree's
     corporate commitment to the program. They instruct all new employees regarding this program
     and the responsibility for all employees to report potential safety issues or face disciplinary
     action.

     Grce has developed a strong in-house laboratory capable of testing to the applicable industry
     standards and regulatory requ irements. They also coordina te with the engineering department to
     identify areas where the regulations and standards are believed to be insufficient for the Gree
     products. Where such areas arc identified, Gree develops their own internal standards
     (perfonnance, quality and safety) to address their desire for and commitment to the highest
     reasonably attainable quality and safety.

     Gree has embedded staff from their quality department in the manufacturing faci li ty and that
     staff provide a constant presence on the production line to reinforce Gree's commitment to
     quality. Gree conducts regular, random incoming material inspections to ensure they arc
     receiving the material and components specified and ordered. They conduct multiple, random
     quality inspections throughout the production process as well as random inspections of product
     in their warehouse.

     Gree has a process in place to handle incoming product complaints and forward them to the
     quality department tor review and resolution. Where appropriate, they work with the other
     departments (i.e., safety, engineering, production) to ensure thal a complete evaluation of the
     allegation is perto rmed and any lessons learned from the evaluation are incorporated into their



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      interna l standards, designs, production process, quality control plans, policies and any other
      portion of their program which should be revised to address the issue and minimize the
      likelihood of recurrence. Gree requires their foreign (non-China) agents to sign an agreement
      which obligates the agent to both collect and report to Grec any field complaints related to
      quality.

      Gree's combined quality, compliance and safely program attempts to equally address all three
      components. The foundation of their program is the quality component and this aspect of their
      product design and manufacturing, as described throughout this report, appears to be large ly
      effective. The compliance component is also a critical piece and, as described in this report,
      Gree established a department which is responsible for researching, tracking and documenting
      legal and regulatory requirements as well as all applicable industry standards in every country
      where their products arc distributed.

      Gree's combined program places a reliance on the quality and compliance components to also
      address many aspects of the safety component. The risk presented by a product is a
      combinati on of the likelihood of a particular failure occurring and the severity ofthe potential
      injury should the fai lure actua lly occur. It follows that the higher the quality of the product, the
      lower the rate of failure and therefore the lower the risk. While this approach to minimizing the
      potential risk from a product is sound and reasonably effective, it tends to rely upon evaluating
      the types of failures most easily identified based on technical knowledge of expected failure
      modes and on those failures which previously occurred. This approach to identifying fa ilure
      modes which require eva luation can potentially miss failure modes because they have a low
      likelihood of occurring and have not previously occurred in one of Gree's products. A failure
      mode with a low or very low like!ihood of occurrence might still warrant a design or
      manufacturing change ir the potential severity of the failure is unacceptable.

      After reviewing the documented quality, compliance and safety program and having discussions
      with Grce staff to determine Gree's intent, an attempt was made to identify any evidence that
      the intended program is not being implemented. Prior to the 20 13 dehumidifier recall, Gree had
      not conducted any product recalls. While it is possible that the need for a recall cou ld have been
      missed or ignored by Gree, tltis appears to be unlikely. Given the large quantity of products
      Gree distributes globally, even a problem with a low li kelihood of occurrence could equate to
      hundreds or even thousands of failures. With the growing global awareness of consumer
      product safety by consumers, governments and media, a problem resulting in hundreds of
      failures annually is likely to be detected, even if not made aware to or acknowledged by Gree.

      Furthermore, in examining the results of the investigation into the 2013 dehumidifier matter, it
      appears as if the primary reason for the repotted failures was a failure to identify the specific
      failure mode during the design process and make the appropriate changes prior to unit
      production. The failure to identify the specific failure mode was due to Gree's reliance on their
      historical experience with their products and their scientific and engineering knowledge. I lad



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      the specific fa ilure mode been identified during the FMEA process, Gree would have
      documented it and the resulting effcct(s) of extended operation without refrigerant would have
      been eval uated and tested and changes would have been incorporated, as is done for other
      failure modes identified. Subsequent to the dehumidifier investigation, Gree modified the
      relevant procedures, test protocols and internal standards to require that the potentially
      hazardous condition of operating for an extended duration without refrigerant will be evaluated
      going forward, regardless of the underlying root cause(s). The recalled dehumidifier design
      resulted from a failure ofGree's highly experienced engineers to identify a low likelihood
      failure mechanism that reportedly was not previously encountered in any of their products.

      To assist Grce in determin ing what specific program/process changes could be considered,
      Exponent provides the following:

            1. Expand the hazard/failure mode identification process and technical makeup of the
               responsible team with internal and/or external resources to identify and consider a
               broader array of potential failures, even if the potential failure has not occurred in aGree
               product previously.
            2. Incorporate the identification of foreseeable usc/misuse actions into the hazard
               identification process to assist in identifyi ng low likelihood failures associated with
               foreseeable consumer action or inaction.
            3. Uti lize a template or other document to create a comprehensive list of potential hazards
               associated with every product Gree has designed and manufactured that will serve as a
               tool for futu re project teams to use in identifying all of the potential hazards for a
               product which must be considered.
            4. Adapt the existing risk assessment process, which is primarily focused on the risk of
               product failure, to create a companion risk assessment process focused on the risk to the
               user from the spcci fie product fai lure mode.
            5. Evaluate potential methods to enforce and increase the compliance of Gree's foreign
               agents with their requirement to report field after-sales quality issues to Gree in a timely
               manner.
           G. Consider conducting worst-case, forced fail ure testing to better understand the potential
              severity of very low likelihood failure modes to determine if the potential failure creates
              an unacceptable injury severity even with a low likelihood of failu re. Extemal resources
              can provide assistance, if necessary.
           7. Conduct a detailed aud it of the day-to-day actions of the production and customer
              service departments to identify potential nonconformance with Gree's internal quality,
              compliance and safety program requirements.
           8. Consider revising the existing customer service process and procedures to more
              aggressively pursue the return of field units related to potential safety-related allegations.



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      Limitations
      At the request of Morrison & Foerster, LLP, Exponent has conducted a targeted review of
      Gree's existing Reliabi lity, Compliance and Safety Programs. Exponent reviewed and
      evaluated documents provided by Gree and visited one of Grec's manufacturing locations in
      Zhuhai, China. The limited scope of services performed during this investigation may not
      adequately address the needs of other users of thi s report, and any reuse of this report or its
      fmdings, conclusions, or recommendations is at the so le ri sk of the user. The opinions and
      comments fo rmul ated during this investigation arc based on observations and information
      ava ilable at the time of the investigation. The ultimate responsibili ty for the design,
      manufacture, performance, compliance, and safety of Grec's products lies comp letely with
      Grec.

      The findings presented herein are made to a reasonable degree of scientific certainty. Exponent
      has endeavored to be accurate and complete in the assignment. If new data become avai lable or
      there arc perceived omissions or misstatements in this report, we ask that they be brought to our
      attention as soon as possible so that we have the opportunity to address them.

      If you have any questions or require additional information, please do not hesitate to contact
      Exponent.

      Sincerely,
       /l;:t//~
      Richard L. Stern
      Manager
      Mechanical Engineering Practice




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